                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 THOMAS RYAN, SUSAN RYAN, SEAN
 GALLAGHER, ASHLEY SULTAN
 GALLAGHER, MICHELE BURT,
 CHRISTOPHER CERASUOLO, NANCY                          Civil Action No. 4:22-cv-40089
 DONOVAN, and LAUREN LADUE
 individually and on behalf of others similarly
 situated,

                 Plaintiffs,
          v.

 GREIF, INC., CARAUSTAR INDUSTRIES,
 INC., THE NEWARK GROUP, INC.,
 MASSACHUSETTS NATURAL
 FERTILIZER CO., INC., OTTER FARM,
 INC., SEAMAN PAPER COMPANY OF
 MASSACHUSETTS, INC., and 3M
 COMPANY,

                 Defendants.

         DEFENDANT MASSACHUSETTS NATURAL FERTILIZER CO., INC.’S
        MOTION TO DISMISS SECOND AMENDED CLASS ACTION COMPLAINT
           PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

         Defendant Massachusetts Natural Fertilizer Co., Inc. (“MNF”) moves to dismiss Counts

One, Three, Five, Six, Seven, Thirty-Four, and Thirty-Five of the Second Amended Complaint

pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to state a plausible claim for

relief. In further support hereof, MNF adopts and joins the reasoning and arguments of Seaman

Paper Company of Massachusetts, Inc. (“Seaman Paper”) and Otter Farm, Inc. (“Otter Farm”)

set forth in their Motion to Dismiss Second Amended Complaint and accompanying

Memorandum of Law (the “Seaman-Otter Memo”). Specifically:

    •    Plaintiffs’ claim for medical monitoring, Count One of the Complaint, should be

         dismissed for failure to state a claim. As demonstrated in Section B.5 of the Seaman-

         Otter Memo, medical monitoring claims must be specifically pled with required

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        elements. Here, the Complaint fails to allege the stringent required elements of a claim

        for medical monitoring – including allegations of subcellular injury – and instead is

        vague and conclusory. The reasoning set forth in Section B.5 of the Seaman-Otter Memo

        applies to MNF, and Count One should be dismissed as to MNF.

    •   Plaintiffs’ Third Count alleging violations of the Massachusetts Consumer Protection

        Act, Mass Gen. Laws Ann. ch. 93, §§1, et seq. (“MCPA”) against MNF are procedurally

        flawed because Plaintiffs fail to allege a condition precedent to pursuing these causes

        action. That is, Plaintiffs fail to allege that they provided the statutorily required 30-day

        notice in advance of filing the Complaint, nor could they so allege. Further, Plaintiffs

        have failed to establish that MNF knowingly and recklessly deceived Plaintiffs. For the

        purposes of these flaws, and as further set forth in Sections B.1 and B.2 of the Seaman-

        Otter Memo, MNF is in the same position as Seaman Paper and Otter Farm. Count Three

        should be dismissed against MNF.

    •   Count Five of the Complaint, alleging public nuisance, should be dismissed. As analyzed

        in Section B.6 of the Seaman-Otter Memo, a claim for public nuisance requires that

        Plaintiffs sustain a special, peculiar, and distinct injury, different from the general public.

        Such an allegation is lacking here, nor could such an allegation be made. MNF is in the

        same position as Seaman Paper and Otter Farm for the purposes of the public nuisance

        claims, and Count Five should be dismissed against MNF.

    •   Count Six, a claim for strict liability based on an ultrahazardous activity, should be

        dismissed. As set forth in Section B.3 of the Seaman-Otter Memo, the theory of strict

        liability applies only to activities, not materials. The “activity” engaged in by MNF is

        composting, as permitted by the Massachusetts Department of Environmental Protection.



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        There is no plausible allegation that composting is somehow “ultrahazardous”; therefore,

        Count Six should be dismissed.

    •   Plaintiffs’ Count Seven should be dismissed, which alleges willful and wanton conduct

        against MNF. As examined in Section B.9 of the Seaman-Otter Memo, a claim for

        willful and wanton conduct must plausibly allege that a risk of severe injury or death is

        likely, due to defendant knowingly and intentionally disregarding an unreasonable risk.

        Here, MNF was simply conducting lawful composting operations as part of its routine

        business, as licensed by the Massachusetts Department of Environmental Protection.

        Count Seven fails to state a claim, and should be dismissed.

    •   Counts Thirty-Four and Thirty-Five, alleging violations of RICO, should be dismissed, as

        thoroughly analyzed in Sections B.7 and B.8 of the Seaman-Otter Memo. The Plaintiffs’

        RICO counts fail to assert fraud with particularity, and fail to assert conduct, an

        enterprise, and a pattern of racketeering activity within the meaning of RICO. MNF is in

        the same position as Otter Farm and Seaman Paper for the purposes of the RICO

        allegations, and these counts should be dismissed.

    For the above-stated reasons, MNF requests that its Motion be granted.

                                       Respectfully submitted,

                                       MASSACHUSETTS NATURAL FERTILIZER
                                       COMPANY, INC.,
                                       By its attorney,

                                       ___George F. Hailer /s/_____________________
                                       George F. Hailer (BBO #554793)
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Dated: March 15, 2023


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                                     CERTIFICATE OF SERVICE
        I certify that on March 15, 2023 I electronically filed the foregoing document(s) and that
        they are available for viewing and downloading from the Court’s ECF system and served
                          upon counsel of record through the Court’s ECF system.

                               __________George F. Hailer /s/________
                                         George F. Hailer




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